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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                  No: 3:18-cv-252
COMMISSION,
                                         Carlton W. Reeves, District Judge
          Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                              April 18, 2019




                                         /s/ Alysson Mills
                                 Alysson Mills, Miss. Bar No. 102861
                                 Fishman Haygood, LLP
                                 201 St. Charles Avenue, Suite 4600
                                 New Orleans, Louisiana 70170
                                 Telephone: 504-586-5253
                                 Fax: 504-586-5250
                                 amills@fishmanhaygood.com
                                 Receiver for Arthur Lamar Adams and
                                 Madison Timber Properties, LLC
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Introduction

        For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

        On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

        The Court instructed me to file a report of my progress every 60 days. I filed my last report
on February 19, 2019, and this report picks up where that report left off. It does not repeat the same
information, except as necessary for context. It contains the following parts:

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        As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims. I remain sensitive to potential
ongoing criminal investigations and do not disclose information that might impair their progress.




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Recent filings or events—criminal

       United States v. Adams, No. 3:18-cr-88

       None.


       United States v. McHenry, No. 3:19-cr-20

       On March 1, 2019, the U.S. Attorney’s Office for the Southern District of Mississippi
unsealed an indictment against Bill McHenry dated January 25, 2019 that charges McHenry with
securities and commodities fraud and wire fraud. The indictment alleges:

               6.       Beginning at least as early as 2008 and continuing through April 2018 . . .
       WILLIAM B. MCHENRY, JR., aided and abetted by others, did knowingly and
       intentionally participate in a scheme and artifice to defraud investors . . . .

               7.     Defendant MCHENRY falsely and fraudulently represented to investors
       that Madison Timber Properties was in the business of buying timber rights from
       landowners and then selling the timber rights to lumber mills at a higher price. … In fact,
       neither MCHENRY nor Madison Timber Properties had such timber rights or contracts
       with lumber mills, except in only a few instances. . . .

               8.       In furtherance of the scheme and artifice to defraud, defendant
       MCHENRY concluded investment contracts with investors, most often in the form of
       promissory notes on behalf of Madison Timber Properties. The loans typically guaranteed
       investors an interest rate of 12 to 13 percent, which was to be repaid to investors over the
       course of twelve to thirteen months. The monthly payments due on these promissory notes
       were typically due either the first or the fifteenth of the month.

                9.      In fact, this was a sophisticated Ponzi scheme. Instead of investing the
       investors’ money, ADAMS used the invested funds for his own personal benefit and the
       benefit of others, and for purposes other than those represented to investors. Participating
       in the scheme and artifice to defraud, MCHENRY on behalf of Madison Timber Properties
       fraudulently obtained well over eighteen million dollars ($18,000,000) from more than 20
       investors.

                10.    In furtherance of the Ponzi scheme, MCHENRY and others created false
       documents to lull investors into believing that their investments were secured by sufficient
       collateral from which they could recover all or part of their investment in the event that
       Madison Timber Properties defaulted on the loans. Specifically, MCHENRY and others
       created false timber deeds purporting to be contracts conveying timber rights from
       landowners to Madison Timber Properties. The timber deeds contained forged signatures
       of landowners, those landowners’ names often having been obtained from timber maps.
       MCHENRY and others also created false timber deeds purporting to convey those timber
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           rights from Madison Timber Properties to the investors. In fact, Madison Timber Properties
           did not hold valid timber rights on the parcels of land described in the false timber deeds
           which MCHENRY uttered. To further lull the investors, many of the documents were
           notarized to make the investments appear to be legitimate. To further conceal the scheme,
           MCHENRY and others required the investors to agree not to record their timber deeds
           unless Madison Timber Properties defaulted on the loan agreement by failing to make a
           payment.

                    11.     In furtherance of the Ponzi scheme, MCHENRY represented to investors
           that he had confidence in the timber deeds, as well as the associated contracts with Madison
           Timber Properties for the timber. In fact, MCHENRY had made no inquiry.

                    12.     Instead of using the money as promised for the purpose of cutting timber,
           ADAMS and Madison Timber Properties used the proceeds for other fraudulent purposes
           and to further the scheme, including but not limited to making payments due and owing to
           other investors. It was further part of the scheme and artifice to defraud that defendant
           MCHENRY received undisclosed commissions for recruiting investors to Madison Timber
           Properties. MCHENRY falsely held himself out as a principal officer, partner, owner or
           director of Madison Timber Properties, and as an investor of his own money in Madison
           Timber Properties. In fact, MCHENRY had no such office and authority, and McHenry
           had no personal investment in Madison Timber Properties, but MCHENRY received ten
           percent of all monies raised and invested by the investors whom MCHENRY recruited, as
           a commission paid to MCHENRY from those very same investment funds. MCHENRY
           did not disclose the fact of his commission, or the percentage of his commission, to the
           investors he recruited.

                     13.      It was further part of the scheme and artifice to defraud that ADAMS lulled
           and persuaded investors to maintain their investments and to invest additional funds by
           making payments to some investors by way of post-dated checks. MCHENRY contributed
           to this lulling tactic by forwarding the checks to the investors MCHENRY recruited. It was
           MCHENRY’s routine practice to interact directly with investors whom MCHENRY had
           recruited, and to distance them from ADAMS, which practice further lulled investors.

                   14.     It was further part of the scheme and artifice to defraud that defendant
           MCHENRY lulled and persuaded investors to maintain their investments and to invest
           additional funds by offering his own personal guarantee of their investments.1




1
    Doc. 3, United States v. McHenry, No. 3:19-cr-20 (S.D. Miss.).
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          On March 1, 2019, McHenry pleaded not guilty, and the Court set a trial date of April 15,
2019.2 That trial date was continued, however, while McHenry tried to obtain counsel.3 On April
8, 2019, the Court appointed the Federal Public Defender to represent him.4 As of this filing, a
new trial date has not been set.


Recent filings or events—civil

          Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

          Marital property settlement—Vickie Lynn Adams: On February 20, 2019, the Court
approved a marital property settlement agreement with Adams’s wife, Vickie Lynn Adams. 5 The
Adamses married in 1978 and Mrs. Adams had an interest in certain receivership property that
constitutes marital assets under the laws of the State of Mississippi. We allocated those marital
assets, including real property in Jackson and Oxford, Mississippi, as set forth in the final marital
property settlement agreement, available at madisontimberreceiver.com.

          Subpoenas—notaries: On February 21, 2019, I issued 15 subpoenas to individuals and
entities including The UPS Store, PAK Mail, and Rawlings & MacInnis, requesting the “journals
of notarial acts,” which Mississippi law requires that they maintain.

          Motion for contempt—Alexander Seawright: On March 13, 2019, the Court granted the
motion for contempt I filed against Alexander Seawright Timber Fund I, LLC, Brent Alexander,
and Jon Seawright (“Alexander Seawright”) following their pursuit and settlement of claims
against UPS arising from UPS employees’ notarization of fake timber deeds. The Court’s order
stated:

                   In the simplest terms, [the Court’s stay of litigation] positions the Receiver as if
          she were the first person in line to board a Southwest Airlines flight, where there is limited
          capacity and there are no reserved seats. If someone cuts in front of the Receiver, her
          choices become more limited. The Order also prevents victims from jostling for a position
          closer to the front of the line.



2
  Doc. 9, United States v. McHenry, No. 3:19-cr-20 (S.D. Miss.).
3
  Doc. 17, United States v. McHenry, No. 3:19-cr-20 (S.D. Miss.).
4
  Doc. 20, United States v. McHenry, No. 3:19-cr-20 (S.D. Miss.).
5
  Doc. 94, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
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                  Ultimately, the goal is to preserve the value of Receivership Property and ensure
        that all victims are treated fairly.

                                                      ***

                By settling claims against UPS, [Alexander Seawright has] diminished the value
        of the Receivership Estate’s claims and put [itself] ahead of other victims.6

The Court held Alexander Seawright in civil contempt and urged that the parties “be put back in
the same position as they were” without further input from the Court. Following the Court’s ruling,
Alexander Seawright gave to the Receivership Estate the $100,000 UPS paid to it in exchange for
its purported settlement of claims against UPS. Separately I advised UPS that the Receivership
Estate will treat the $100,000 as an offset to UPS’s monetary liability for future claims the
Receivership Estate might have against UPS. Following these efforts, on March 25, 2019, the
Court purged Alexander Seawright’s contempt.7

        Motion regarding stay—the Lehans: On March 13, 2019, the Court denied the motion filed
by Jeanne Lehan and Pamela Lehan that requested that the Court declare that the Court’s stay of
litigation did not apply to the Lehans’ lawsuit against Pinnacle Trust, who they say facilitated their
investments in Madison Timber. The Court’s order stated:

                Like other victims, the Lehan parties desire to adjudicate this matter. This Court
        does not wish to prevent those who have been wronged from seeking justice, especially
        against parties with whom they placed their trust. Considering all three factors, [however,]
        the Court finds that at this stage, only months after the appointment of the Receiver, equity
        mandates not lifting the stay.

                 The motion is denied. As it has done in all three orders issued today, the Court
        reiterates its broad authority to protect Receivership Property.8


        Motion regarding investor’s check—McHenry: On March 13, 2019, the Court denied the
motion filed by Bill McHenry that requested that the Court order me to return $100,000 to an
investor whose check to Madison Timber was deposited in Madison Timber’s Southern Bancorp
Bank account on the same day the Securities and Exchange Commission froze the account. In
response to McHenry’s motion, the Securities and Exchange Commission showed that the check


6
  Doc. 133 at 3-6, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
7
  Doc. 140, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
8
  Doc. 134 at 8, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
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cleared hours before the Court’s order freezing the account was entered. In denying McHenry’s
motion, the Court observed “the Receiver may not prioritize the recovery of certain victims over
others.”9

        Sale—interest in KAPA Breeze, LLC: On March 14, 2019, the Court approved a purchase
agreement10 whereby the Receivership Estate sold its 50% interest in KAPA Breeze, LLC for
$700,000. The purchase agreement is available at madisontimberreceiver.com.

        Settlement—Adams children: On March 14, 2019, the Court approved settlement
agreements with Adams’s children,11 whereby they agreed to return a total of $170,000 to the
Receivership Estate. The final settlement agreements are available at madisontimberreceiver.com.

        Sale—personal assets: On April 1, 2019, the Court entered an order permitting me to sell
certain assets that now belong to the Receivership Estate.12 The Court’s order permitted me to sell
the 2018 King Ranch Ford F150 truck for no less than $40,000, and to sell any other assets,
including but not limited to vehicles, jewelry, and furniture, valued at less than $20,000 for a fair
market price as determined by me using my best judgment and objective appraisals, to the extent
appraisals exist. The order is available at madisontimberreceiver.com.

        Settlement—Philippi Freedom Ministries: On April 2, 2019, I filed a notice advising that
Philippi Freedom Ministries returned to the Receivership Estate $16,125 that it received from
Lamar Adams and Wayne Kelly.13

        Settlement—Rick Hughes Evangelistic Ministries: On April 2, 2019, I filed a notice
advising that Rick Hughes Evangelistic Ministries returned to the Receivership Estate $43,657.95
that it received from Lamar Adams and Wayne Kelly.14

        Proposed sale—134 Saint Andrews: On April 10, 2019, the Court entered an order adopting
procedures that will permit me to sell the real property at 134 Saint Andrews Drive, Jackson,

9
  Doc. 132 at 3, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
10
   Doc. 135, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
11
   Docs. 136, 137, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
12
   Docs. 143, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
13
   Doc. 144, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
14
   Doc. 145, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
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Mississippi, in compliance with 28 U.S.C. § 2001(b).15 The property was listed on April 1, 2019,
and after receiving several offers I accepted the highest and best offer, for an all cash sale in the
amount of $540,000, subject to compliance with 28 U.S.C. § 2001(b) and confirmation by the
Court. The Court’s order provides that I may consider any bona fide offers of more than the current
proposed sale price received through the close of business, or 5:00 p.m., on May 1, 2019. Please
see the Court’s order, available at madisontimberreceiver.com, for details and instructions.


           Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

           The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleges they received millions of dollars in “commissions” in exchange for their recruitment
of new investors to Madison Timber. Wayne Kelly settled with the Receivership Estate.

           Mike Billings: Billings and I have had productive settlement negotiations but have not
finalized a proposed settlement agreement. He has made requested financial disclosures and
submitted to examination under oath.

           Bill McHenry: Litigation against McHenry is ongoing. I have argued that there are no
factual disputes and the Court may enter judgment against McHenry in the amount requested,
$3,473,320, as a matter of law, without hearing or trial. A motion for summary judgment and
related filings are available at madisontimberreceiver.com. As of this filing the Court had not
issued a ruling.


           Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

           The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, filed December 19, 2018, alleges the law firms and their
agents lent their influence, their professional expertise, and even their clients to Adams and
Madison Timber. None of the defendants has settled with the Receivership Estate. The Court held
a status conference on March 22, 2019.



15
     Doc. 148, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
                                                                                                   8
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       Butler Snow: The Butler Snow defendants have argued that the case against them should
be submitted to private arbitration. I have argued, among other things, that private arbitration is in
no one’s interest, except Butler Snow’s. The Butler Snow defendants’ motion and related filings
are available at madisontimberreceiver.com. As of this filing the Court had not issued a ruling.

       Baker Donelson: Baker Donelson filed a motion to dismiss all claims against it on February
21, 2019. I filed a brief opposing that motion on March 7, 2019, and Baker Donelson filed a brief
in reply on March 14, 2019. Baker Donelson’s motion and related filings are available at
madisontimberreceiver.com. As of this filing the Court had not issued a ruling.

       Alexander Seawright: The Alexander Seawright defendants filed a motion to dismiss all
claims against them on February 21, 2019. I filed a brief opposing that motion on March 7, 2019,
and they filed a brief in reply on March 14, 2019. The Alexander Seawright defendants’ motion
and related filings are available at madisontimberreceiver.com. As of this filing the Court had not
issued a ruling.


       Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       On March 20, 2019, I filed a lawsuit against BankPlus; BankPlus Wealth Management,
LLC; Gee Gee Patridge, Vice President and Chief Operating Officer of BankPlus; Stewart
Patridge; Jason Cowgill; Martin Murphree; Mutual of Omaha Insurance Company; and Mutual of
Omaha Investor Services, Inc.—financial institutions and their agents who lent their influence,
their professional services, and even their customers to Madison Timber, establishing for it a de
facto DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office.

       The complaint alleges that Madison Timber had to continuously grow to repay existing and
new investors, and that it would not have grown without the defendants’ encouragement and
assistance. Madison Timber grew from an approximately $10 million-a-year Ponzi scheme in 2011
to an approximately $164 million-a-year Ponzi scheme as of April 19, 2018.

       The complaint alleges that because the defendants contributed to the success of the
Madison Timber Ponzi scheme, they contributed to the debts of the Receivership Estate, and
therefore are liable for them.


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       The complaint includes counts for civil conspiracy; aiding and abetting; recklessness, gross
negligence, and at a minimum negligence; violations of Mississippi’s Fraudulent Transfer Act;
violations of Mississippi’s Racketeer Influenced and Corrupt Organization Act; and negligent
retention and supervision.

       The complaint is available at madisontimberreceiver.com


Receiver’s actions in the past 60 days

       Since I filed my third report on February 19, 2019, I have:


       Continued to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       As summarized above, I continue to negotiate settlement with Mike Billings. As of this
filing the Court had not issued a ruling on the motion for summary judgment that I filed against
Bill McHenry.


       Continued to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

       As summarized above, on March 7, 2019 and March 15, 2019, respectively, I filed
oppositions to Baker Donelson’s and the Alexander Seawright defendants’ motions to dismiss. As
of this filing the Court had not issued a ruling on those motions nor the motion to compel arbitration
that the Butler Snow defendants filed in January, which I also opposed.


       Filed Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       As summarized above, on March 20, 2019, I filed a lawsuit against BankPlus; BankPlus
Wealth Management, LLC; Gee Gee Patridge, Vice President and Chief Operating Officer of
BankPlus; Stewart Patridge; Jason Cowgill; Martin Murphree; Mutual of Omaha Insurance
Company; and Mutual of Omaha Investor Services, Inc.—financial institutions and their agents
who lent their influence, their professional services, and even their customers to Madison Timber,




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establishing for it a de facto DeSoto County headquarters within BankPlus’s Southaven,
Mississippi branch office.


        Finalized settlements with various parties

        Vickie Lynn Adams: As summarized above, Mrs. Adams and I allocated marital assets,
including real property in Jackson and Oxford, Mississippi, via a marital property settlement
agreement that was approved by the Court on February 20, 2019. As part of that agreement, Mrs.
Adams paid the Receivership Estate $58,247 representing proceeds from the sale of a Lexus LX
570 and the liquidation of a Hartford Life and Annuity Insurance Co. life insurance policy and
gave the Receivership Estate jewelry including a 3-carat diamond solitaire ring, a gold necklace
and pendant set with diamonds weighing one carat, and a gold band set with diamonds weighing
.77 carats. The real property in Jackson and Oxford, Mississippi, is for sale.

        Adams children: As summarized above, the Adams children and I entered settlements
whereby they have returned a total of $170,000 to the Receivership Estate.


        Listed sales of real property

        134 Saint Andrews Drive, Jackson, Mississippi: As summarized above, I listed 134 Saint
Andrews Drive, Jackson, Mississippi, on April 1, 2019, and after receiving several offers I
accepted the highest and best offer, for an all cash sale in the amount of $540,000, subject to
compliance with 28 U.S.C. § 2001(b) and confirmation by the Court. The Court adopted
procedures for the sale which provide that I may consider any bona fide offers of more than the
current proposed sale price received through the close of business, or 5:00 p.m., on May 1, 2019.
Please see the Court’s order, available at madisontimberreceiver.com, for details and instructions.

        2150 Anderson Road, Unit 504, Oxford, Mississippi: The Adamses’ condo in Oxford,
Mississippi, in the Calton Hills subdivision, 2150 Anderson Road, Unit 504, is being sold
furnished and was listed on April 11, 2019, with an asking price of $192,500. Please see the listing
for details.




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        Continued to account for “commissions” and gifts

        I continue to account for “commissions” paid by Adams, Madison Timber, or Wayne Kelly
to individuals in exchange for their assistance in recruiting new investors to the Madison Timber
Ponzi scheme. I continue to account for gifts that Adams or Wayne Kelly made with proceeds
from Madison Timber.

        Philippi Freedom Ministries: As summarized above, Philippi Freedom Ministries returned
to the Receivership Estate $16,125 that it received from Lamar Adams and Wayne Kelly.

        Rick Hughes Evangelistic Ministries: As summarized above, Rick Hughes Evangelistic
Ministries returned to the Receivership Estate $43,657.95 that it received from Lamar Adams and
Wayne Kelly.


        Continued to review records

        To date I have received and reviewed records from Wayne Kelly, Mike Billings, Alexander
Seawright, Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River
Hills Bank, Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit,
Adams’s and Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison
Trust Company (no relation to Madison Timber), and Pinnacle Trust. I continue to request and
review additional records as necessary to assess the Receivership Estate’s rights against third
parties that had professional relationships with Adams or Madison Timber. As summarized above,
on February 21, 2019, I issued 15 subpoenas to individuals and entities including The UPS Store,
PAK Mail, and Rawlings & MacInnis, requesting the “journals of notarial acts” which Mississippi
law requires that they maintain.


        Worked with LLCs of which Adams was a member

        Adams was a member of at least six active limited liability companies (“LLCs”) that own
real estate. Two of those LLCs—707, LLC and Delta Farm Land Investments, LLC—sold their
principal assets, dissolved, and tendered to the Receivership Estate proceeds representing the
Receivership Estate’s interests before the filing of my last report. Since the filing of my last report,
of the remaining LLCs, the following LLCs have taken the following action:

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        KAPA Breeze, LLC: As summarized above, I entered a purchase agreement whereby the
Receivership Estate sold its 50% interest in KAPA Breeze, LLC for $700,000. The Court approved
the purchase agreement on March 14, 2019.

        Mallard Park, LLC: The LLC’s principal asset is 1,723 acres with a hunting lodge in
Humphreys County, Mississippi. I have obtained an appraisal of that property and have had
preliminary negotiations with the LLC’s other members regarding the purchase of the
Receivership Estate’s 25% interest. I will consider any offer by any party to purchase the
Receivership Estate’s interest for a price that I believe is fair, and I encourage interested parties to
contact me directly (504-586-5253). If I am unable to sell the Receivership Estate’s interest, I will
evaluate other options available to the Receivership Estate. In the meantime, I have released funds
held in an LLC bank account to its members, including the Receivership Estate, in proportion to
the members’ interests. The Receivership Estate’s share is $20,962.30.

        MASH Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I have obtained an appraisal of that property and have had
preliminary negotiations with the LLC’s other members regarding the purchase of the
Receivership Estate’s 25% interest. I will consider any offer by any party to purchase the
Receivership Estate’s interest for a price that I believe is fair, and I encourage interested parties to
contact me directly (504-586-5253). If I am unable to sell the Receivership Estate’s interest, I will
evaluate other options available to the Receivership Estate.

        Oxford Springs, LLC: The LLC executed a purchase agreement to sell its principal asset,
2,300+/- acres of undeveloped land in Lafayette County, Mississippi, on February 11, 2019. The
purchaser is currently engaged in due diligence. The LLC anticipates that the sale will close on or
before May 12, 2019. The LLC intends to dissolve after the sale and tender the proceeds
representing the Receivership Estate’s interest to the Receivership Estate.


        Conferred with federal and state authorities

        I have continued to confer with the U.S. Attorney’s Office for the Southern District of
Mississippi, the FBI, the Securities and Exchange Commission, the Mississippi Secretary of
State’s Office, and the Mississippi Department of Banking and Consumer Finance.

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       Communicated with investors in Madison Timber

       I have continued to communicate with investors in Madison Timber via phone, letter,
email, and in-person meetings. I speak to investors almost daily.


       Issued 1099s for 2018

       I was required to issue Form 1099-INTs from Madison Timber Properties, LLC for interest
payments it made. Investors should have received a 1099 for any investment in their name in the
year 2018. For any investment for which the investor invested through Madison Trust (no relation
to Madison Timber), Madison Trust should have received a 1099. I take no position on what an
individual investor decides to do with his or her 1099.


       Interviewed persons with knowledge

       I have continued to interview individuals with first-hand knowledge of matters bearing on
the Receivership Estate.


       Researched legal claims against third parties

       Readers know that my colleagues and I research legal claims against third parties as new
facts are discovered. I do not publish our assessments here because to do so would be to telegraph
our legal strategies to future defendants.


Receiver’s plan for the next 60 days

       Continue to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       As noted above, I await the Court’s ruling on my motion for summary judgment against
Bill McHenry. No hearing or trial has been set, and it is my position that the Court may enter
judgment against McHenry in the amount requested, $3,473,320, as a matter of law, without
hearing or trial. I continue to negotiate with Mike Billings.




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        Continue to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

        As noted above, I await the Court’s rulings on Baker Donelson’s and the Alexander
Seawright defendants’ motions to dismiss and the Butler Snow defendants’ motion to compel
arbitration.


        Continue to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

        I expect the BankPlus defendants’ responses to my complaint on May 21, 2019; the Mutual
of Omaha defendants’ responses to my complaint on May 24, 2019; and Martin Murphree’s and
Jason Cowgill’s responses to my complaint on May 28, 2019.

        Continue to account for “commissions” and gifts

        As noted above, I continue to account for “commissions” paid by Adams, Madison Timber,
or Wayne Kelly to individuals in exchange for their assistance in recruiting new investors to the
Madison Timber Ponzi scheme. I continue to account for gifts that Adams or Wayne Kelly made
with proceeds from Madison Timber.

        Monetize Adams’s interests in the remaining three LLCs

        For the remaining three LLCs, I intend to liquidate the Receivership Estate’s interests to
maximize value to the Receivership Estate:

        Mallard Park, LLC: I want to sell the Receivership Estate’s 25% interest on terms that are
in the best interests of the Receivership Estate. I will continue to consider a sale to the LLC’s other
members but, as noted above, I will consider any offer by any party that I believe is fair, and I
encourage interested parties to contact me directly (504-586-5253). If I am unable to sell the
Receivership Estate’s interest, I will evaluate other options available to the Receivership Estate.

        Mash Farms, LLC: I want to sell the Receivership Estate’s 25% interest on terms that are
in the best interests of the Receivership Estate. I will continue to consider a sale to the LLC’s other
members but, as noted above, I will consider any offer by any party that I believe is fair, and I
encourage interested parties to contact me directly (504-586-5253). If I am unable to sell the
Receivership Estate’s interest, I will evaluate other options available to the Receivership Estate.


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           Oxford Springs, LLC: I intend to continue to assist the LLC with the proposed sale of its
principal asset, as noted above.


           Finalize sales of real property

           As noted above, I will consider any bona fide offers for the purchase of 134 Saint Andrews
Drive, Jackson, Mississippi, of more than $540,000, the current proposed sale price, through the
close of business, or 5:00 p.m., on May 1, 2019. Please see the Court’s order, available at
madisontimberreceiver.com, for details and instructions.

           As noted above, the Adamses’ condo in Oxford, Mississippi, in the Calton Hills
subdivision, 2150 Anderson Road, Unit 504, is being sold furnished and was listed on April 11,
2019, with an asking price of $192,500. I intend to continue to work with Mrs. Adams to facilitate
and finalize a sale. Please see the listing for details.


           File additional lawsuits

           I intend to file additional lawsuits against third parties that contributed to the debts of
Madison Timber, and therefore to the debts of the Receivership Estate, so long as new information
justifies it. To protect the Receivership Estate’s position, I am not disclosing publicly third-party
targets.

           I intend to file additional lawsuits to recover commissions, fraudulent transfers, and gifts
as necessary to recover money that belongs to the Receivership Estate.

           Readers can expect one or more new lawsuits in the next 60 days.


           Continue communicating with investors

           I intend to continue communicating with investors, through my website, email, phone, and
letters. Investors provide information that is useful to my investigation and, in turn, I hope that I
demystify the receivership process for them.




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Summary of status of assets

           My end goal is to make an equitable distribution to victims with the money I recover.

Although I continue to recover money from various third parties, including an additional $1.2

million since my last report, the money that I have recovered to date would not go far. As I have

advised, it may take a long time and a lot of work to recover enough money to make a meaningful

distribution, but I am committed to pursuing recoveries for the benefit of victims so long as the

Court allows. The Receivership Estate’s most valuable assets are the lawsuits it has filed or intends

to file.


           The current status of the Receivership Estate’s assets is as follows:

Receivership Estate’s account at Hancock Bank                             current balance $4,999,117.99
Previous balance as of February 19, 2019               $3,787,412.50
Marital Property Settlement—Vickie Lynn Adams            +$58,247.00
Settlement—Adams children                              +$170,000.00
Settlement—Philippi Freedom Ministries                   +$16,125.00
Settlement—Rick Hughes Evangelistic Ministries           +$43,657.95
Settlement—Ole Miss—final installment                  +$155,084.50
Sale—interest in KAPA Breeze, LLC                      +$700,000.00
Sale—2018 King Ranch Ford F150 truck                     +$42,750.00
FBI—cash seized from safe                                +$28,860.00
Mallard Park, LLC—distribution                           +$20,962.30
Alexander Seawright—UPS’s funds*                       +$100,000.00
Interest                                                  +$9,496.94
Bank fees                                                    -$69.00
Receiver/Receiver’s counsel’s fees/expenses             -$117,713.55
Accountants’ fees                                        -$15,420.65
Mississippi Department of Revenue                            -$25.00
Yard services at 134 Saint Andrews                          -$250.00


Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679             settlement with Billings likely
Lawsuit to recover $16,000,000 in commissions
                                                                        litigation against McHenry ongoing

Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-866
Lawsuit to hold law firms liable for debts of the Receivership Estate            litigation ongoing




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Alysson Mills vs. BankPlus, et al., No. 3:19-cv-196
Lawsuit to hold law firms liable for debts of the Receivership Estate               litigation ongoing



Settlement—Wayne Kelly                                                   received $1,384,435.17 plus interests in
                                                                         707, 315 Iona, and KAPA Breeze, LLCs
                                                                         promissory note in the original principal
                                                                            amount of $400,000 outstanding

Settlement—Frank Zito                                                      received $100,000, first installment
                                                                              $100,000, second installment,
                                                                                   due June 12, 2019

House at 134 Saint Andrews Drive, Jackson, Mississippi                                   for sale
Unencumbered

Condo in Calton Hill subdivision in Oxford, Mississippi                                  for sale
Unencumbered

Jewelry                                                                                  for sale

1/4       Mallard Park, LLC                                                         assessing options
          1,723 acres with hunting lodge in Humphreys County
          Purchased in 2016 for $2,593,500
          Encumbered by Southern AgCredit mortgage
          Owe approximately $2,000,000

1/4       Mash Farms, LLC                                                           assessing options
          808+ acres with hunting camp in Sunflower County
          Purchased in 2014 for $1,600,000
          Encumbered by Trustmark Bank mortgage
          Owe approximately $900,000

47.5%     Oxford Springs, LLC                                                 sale of principal asset pending
          2,300+/- acres undeveloped land in Lafayette County
          Purchased in 2015 and 2016 for total of $6,158,000
          Encumbered by First Bank of Clarksdale mortgage
          Owe approximately $4,500,000

Hartford Life and Annuity Insurance Co. life insurance policy                  surrendered for $167,206.60

Lincoln National Life Insurance Co. life insurance policy                       surrendered for $3,678.45

1/6       707, LLC                                                        LLC sold principal asset and dissolved;
          263+ acres recreational land in Holmes County                 tendered $6,994.09 representing Adams’s,
          Purchased in 2009                                               Kelly’s, and McHenry’s interests to the
          Encumbered by First Commercial Bank mortgage                              Receivership Estate
          Owe approximately $368,000

1/3       Delta Farm Land Investments, LLC                               LLC sold principal asset and dissolved;
          1170+ acres farmland in Oktibbeha County                         tendered $323,440.88 representing
          Purchased in 2014 for $2,796,100                              Adams’s interest to the Receivership Estate


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         Encumbered by Trustmark Bank mortgage
         Owe approximately $2,200,000

Settlement—Ole Miss Athletics Foundation                                  received $155,084.50, first installment
                                                                          received $155,084.50, second and final
                                                                                installment, April 17, 2019

Marital Property Settlement—Vickie Lynn Adams                                        received $58,247
Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy

Settlement—Adams children                                                           received $170,000

1/2      KAPA Breeze LLC                                                      sold the Receivership Estate’s
         1.5+/- acres mixed-use land on Highway 30A in Florida                     interest for $700,000
         Purchased in 2017 for approximately $1,900,000
         Encumbered by Jefferson Bank mortgage
         Owe approximately $1,365,000

Alexander Seawright—UPS’s funds*                                                     holding $100,000

Settlement—Philippi Freedom Ministries                                               received $16,125

Settlement—Rick Hughes Evangelistic Ministries                                     received $43,657.95

2018 King Ranch Ford F150 truck                                                      sold for $42,750



Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock Bank
account balance.

*Holding funds solely as an offset to UPS’s monetary liability for future claims the Receivership Estate might
have against UPS.




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